Case 2:16-CV-14157-RHC-RSW ECF No. 1-1 filed 11/28/16 Page|D.4 Page 1 of 20

EXhibit A

 

_ ¢Case 2:16-CV-14157-RHC-RSW ECF No. 1-1 filed 11/28/16 PagelD.B Page 2 of 20

 

 

 

 
       
      

 

iai.c n _ l co'»Piainuif
App"°"°d' SCAO ' 1039 cgpy - gelfandant mcHARD B Moo:;?- Retum`
STATE' OF" MlCHlGAN CASE :NO'.
JuoiclAL olsTRicT , ,
7th JuoiciAL cincuir SUMMONS AND COMPi-AiNT ,
* couer PRoaATE )({ 'l 0 j YC) ' l
Court address - ` Cour{ to ephone"no.

900 Seginaw St, Flitit, Ml 48502 . (810)'424-4355 `

 

 

Pia|ntiffs name(s). address(es). and telephone no(s).

ed reeves
Linda Bcll-Kachelski v -~,

llO(S)

,Il_¢?and

L¢'. ~-.~. .

 

.-s--:

Plaintil‘l’s ettorney. berno.. address and telephone no. 'j_ _ ii l `
lan lemay Rub,instc.m (P5.7937) Miclngan Rehab to bc served at.

301,,50 Telegraph Rd_. Ste 444 n 711 N Saginaw Sl., Sfe '124, Fl!m Ml 48503
Bingham Farms, MI 48025

(248) 220-14 l 5

 

 

 

 

 

 

NOT|CE TO THE DEFENDANT: ln the name oi the people of the State of Mlchlgan you are netified:
‘l. Vou are being sued. '
2. YOU HAVE 21 DAYS after receiving this summons to file a written answer with the court and serve a copy on the other party
-ortake otherlawful action with'the court(28'daysifyouwere served by mall oryouwereserved outsidethie state). (Mch.i iiici)'
3. if you do not answer or take other action within the time allowed, judgment may be entered against you for the relief demanded

in the complaint

issued oc'|' o ll 2015 This sumnm@x#re"$ ZU`\/ Court clerk
'Thls summons is invalid unless served on oi'before its expiration date. Thil document must be eel - i" ii 7 5- '0 "' ~'- "

` l
COMPLAINT lnstructlon: The following le information thatls required to be ln the caption of every comp 4 ntandis to be completed
by the plaintiff. Actual allegations and the clalm ‘for relief must be stated on additional complaint pages end'attached to this form.

ij This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
Famlly Div|sion Caees

ij There is no other pending or resolved action within the jurisdiction ofthe family division ofcircuitcourt involving the family or family
members of the parties

ij An action within the jurisdiction of the family division of the circuit court involving the family orfami|y members ofthepar_ties has

 

 

   

 

 

 

 

 

 

been previously filed in ,* Court.
The action 14 remains ;_ is no longer pending. The docket number and the judge assigned to the action are:
Docket no. Judge Bar no.

 

 

 

 

General Civ|l Casee

E There is no other pending or resolved civil action arising out ofthe same transaction or occurrence as alleged in the complaint.

i:j A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has
been previously filed in Court

The action fl remains [_'_i is no longer pending. The docket number and the judge assigned to the action are:

 

Dooket no. Judge ' ' Bar no.

 

 

|VENUE l

Pleintifi(s) residence (inciude city. townshlp, or vli|age) Defendant(s) residence (|nclu'de city. township. or village)
Flint. Ml Flini. Ml

P|aoe where action arose or business conducted

Flint, MI //“'\

/) ,
09/28/2016 _ C 57 57 7
Date Sign attorney/plaintiff

lfyou require special accommodations to use the court because of abilityor if you require a foreign language interpreterto help
you fully participate in court proceedings please contact the court immediately to make arrangements

Mc 01 (5/15) SUMMONS AN`D COMPLA|NT MCR 2.102(B)i11). MCR 2,104. MCR 2.105. MCR 2.107, McR 2.113(€)(2)(a), (b), ivicR 3.206(A)

 

 

 

 

 

 

     
 

 

 

 

 

Case 2:16-CV-14157-RHC-RSW ECF No. 1-1 filed 11/28/16 PagelD.€ Page 3 of 20

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. STA'ra"oi-‘ MicHicAN
IN THE CiRcurT Court'r FoR GBNESEE CouNTY

LmDA Ber.L-KAcrrer.sr<r,anlndivid,uai, case No.: cz l l iv ' w ligqu “az

Plaintiff, Hon.:
HIC -, .
WSSMWE

MicHiGAN PROTBCTioN & ADyocAcY SERvicE, iNc.
a domestic non-profit corporation;

MicHreAN REHABrLiTA»'noN Senvrcas,

a_ governmental agency; i

Defendants.

  

THE RuBrNsTErN LAW FiRM

Jan .ief¥rey Rubinstein (P57937)
Ryan P. Richardviile (P77335)
Attorncys for P.laintiff

30150 Telegraph Rd. Ste. 444
Bingham Farms, MI 48025
(248) 220-1415

A rRuE coPY-

Genesee County Clerk

  

CoMPr.AiNT AND JuRY D§»MAND

Now CoMEs, Plaintiff, LiNDA BELL-KACHELSK|, by and through her attomcys, Ti-ra

RUBINSTE|N LAW FlRM, and for her Complaint.and Jury Demand state the following:

JuRllec'rioN AND PAa'rrEs
l. This is an action to enforce civil and common-law rights arising out_ofPlaintifii’s denial
of financial aid and advopacy services of Defendants due to Plaintiff’s disability and race.
2. Plaintiff, LINDA BELL-KACHELSK|, is an individual residing at 1499 -Autumn Dr., Flint, Ml

48 532.

 

 

 

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3. Defendant, Mrc_HrGAN PRorecTioN & onocAcY SERvicE, iNc. (“MPAS"), is a domestic
non~profit corporation lvirith a registered office at 4095 Legacy Parkway Suite-$OO, Lansing,
MI 4891 l.

4. Defendanr, MrcHioAN REHABiLrTATioN SEerces (“MRS"), is a subsection of the
Michigan Departmcnt of Human Services, with a principal place of business located at 71 1
N. Saginaw St., Suite‘ 124 Flint, MI 48503.

5. That the amount in controversy is in excess of $25,000, exclusive of interest, costs, and
attorney fees. 1

6. Venue is proper in this Court.

FAcruA L ALLEG¢T|QNS

7. Plaintiff incorporatcs‘and realleges all above paragraphs as if set forth more iiili_y herein.

8. At all times relevant, Plaintiff has suffered and,continues to suffer from a permanent,
cognitive disability.

9. That the aforementioned permanent', cognitive disability prevents Plaintiff from working
ali day within a large group.

lO. Despite Plaintist disability, Plaintiff started up a business with the main focus of
providing sign language interpretation

ll. Additionally, Plaintit`f` was training and working with a service dog due to the added
responsibilities

12. On or about October 24, 201 2, P_laintifi` contacted Defendant, MPAS, for the first time in '

order to obtain counsel for assistance in obtaining through Det`cndant, MRS, an

 

 

 

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accommodation for a sign language certification examination and completion of a
bachelor’s degree through the University ofMichigan Flint.

13. Defendant, MPAS, agreed to represent, and undertook to represent, PlaintiH` in an action
to resolve outstanding issues with Michigan Rehabilitation Services regarding
qualifications and placement within the agency in order to receive aid for purposes of
pursuing a_Bachelor’ s degree

14. On or about March of 201 4, Plainti_ff met at Defe_ndant, MRS’s, office for a meeting with
a counselor regarding her ability to obtain state assistance n

15 . On the same day, Plaintifi` overheard in MRS‘s office, a representative of Defendant,_MRS,
state “the nigger is here at five [minutes] to five, trying to make trouble.”

16. As a result of the aforementioned comments, Plaintiff filed a grievance within the office l
that a counselor and representative of Defendant, MRS, was making discriminatory and
vulgar comments,

l7. On or about April 3, 2014 Defendant, MPAS, sent to Plaintiffa letter stating that as a result
of her meetings with Miehigan Rehabilitation Services (“MRS”) staff, MRS has agreed to
the following:

a. MRS will pay for the fee for you to re-take your Michigan BEI exarn;

b. MRS will pay for you to take English 112 at U of M flint as an assessment of your
ability to proceed with college course work;

c. If you pass English l lZ, MRS will develop an IPE with the goal of Intexpreter and
continue to pay for your full time enrollment at U of M Flint to complete her

Bachelor’s degree;

d. MRS will assign you to a new MRS Counselor (Exhibit “A").

 

 

 

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18. As a result of Plaintifi’s meeting with Defendant, MPAS, Defendant, MRS, paid Plaintift’s
tuition for her first year of classes.

19. On or about April 18, 2014, MRS-assigned on behalf of Plaintiff a new counselor, Vanessa
Neilley.

20. After Plaintifi` filed her grievance and was assigned to her new counselor with Defendant,
MRS, Def`cndant refused to make tuition payments pursuant to the previous agreement

21. As a result, Plaintiff was not able to obtain the necessary tutor offered through the
University of Michigan Flint which' is paid through tuition. Because Plaintiff was unable
to obtain tuition payments or a tutor for her permanent disability_, Plaintiff` was unable to
pass requisite math and English classes despite taking the classes four (4) times each.

22. Plaintiff was eventually provided with necessary tutors and PlaintiH` immediately passed
the two classes, however, Plaintiff` was sent a bill for tuition for all of the classesin addition
to the tutor.

23. Due to the circumstances as outlined above with Defendant, MRS, Plaintiff turned to
Def`endant MPAS to provide assistance guidance, and to seek reimbursement for her
previously determined eligibility for financial aid. Thereaiter, Plaintiti` was infonned that
the attorney handling her matter, Nicole Shannon, was no longer employed with Defendant,
MPAS.

24. Thereaf`ter, Defendant, MPAS, arbitrarily closed her file and would nor longer assist
Plaintiff, including holding Defendant, MRS, to the original agreement (Exhibit “A").

25. In addition, Defendant MPAS inconsistently stated her factual basis which formed the basis

for her financial aid eligibility and prior agreements already in place with Defendant, MRS,

 

 

 

 

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26. Defendant, MRS, continues to delay and stagger with its services, refuses to abide by the
verbal and written agreements as outlined, and continues to withhold, without explanation
services for which Plaintiff` is eligible and qualified to receive.

27. But for the Def`endant, MPA~_S’s, failure to properlyiadvocate for services and aid provided
by Defendant, MRS, Plaintif`f would not have suffered the following_injuries and damages,
among others:

a. Plaintifi"s receipt of financial aid in order to re-take her Michigan Bl:`.l exam to
become a sign language interpreter;

b. Plaintiff"s receipt of financial aid and necessary tutors to take English and math
courses at University of Michigan Flint which Plaintiii` was forced to take four (_4)
times each;

c. Plaintiff‘s receipt of financial aid and necessary tutors for full time enrollment at
University of Michigan Flint to complete and receive her Bachelor’s degree;

d. Plaintiff"s loss of the use of the money that should have been paid to her;

e. Plaintifi` has been forced to pay fees to other attorneys in an attempt to remedy and
mitigate the damages caused by the acts and omissions of Defendants.

f. Plaintiff` has suffered stress, financial hardships, emotional pain and suff`ering,
mental anguish, and the loss of` consonium.

g. Plaintif`f has suffered other compensable injuries and damages.

28. As a direct and proximate result of Def`endants’ failure to properly advocate for services
and aid provided by Defendant, MRS, thereby causing Plaintif]` to lose financial aid

previously granted to Plaintiff, Plaintif`f would have received the necessary tutors and

 

 

 

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proper financial aid required, but instead Plaintifi` has suffered the following injuries and

damages, among others:

a.

g.

Plaintiff’s receipt of financial aid in order to re-take her Michigan BEI exam to
become a sign language interpreter;

Plaintiff's receipt of financial aid and necessary tutors to take English and math
courses at.Un_iversity of Michigan F lint which Plaintiff was forced to take four (4)
times "each;

Plaintiff"s receipt of financial aid and necessary tutors for full time enrollment at
University of Michigan F lint to complete-and- reccive her Bachelor’s degree;
Plaintiff"s loss of the use of the money that should have been paid to her', d
Plaintiff has been forced to pay fees to other attorneys in an attempt to remedy and
mitigate the damages caused by the acts and omissions of Defendants.

Plaintif`f` has suffered stres's, financial hardships, emotional pain and sufi`ering,
mental anguish, land the loss of consortium. b

Plaintiff has sufibred other compensable injuries and jjdamages.

29. Defendant, MPAS, owed a duty to Plai'ntif`f to exercise the knowledge, skill, ability, and

care ordinarily possessed and exercised by governmental agencies who employ attorneys _

in order to advocate on behalf of Plaintiffs in the State of Michigan and further to act in

good faith and in the best interests of Plaintiff.

' COUNT~I! VlOLATlON OF THE AMER!CANS WITH DlSABlLlTlES ACT

30, Plaintiff incorporates and realleges all above paragraphs as if set forth in full here.

31. At all relevant times, Plaintiff` was a qualified individual with a disability within the

meaning of the Ameri,c_ans with Disabilitics Act (“ADA”). Spccifically, Plaintiff` is an

 

 

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individual, with a physical impairment that substantially limits one or more of the major
life activities of such individual; a record of such an impairment; or being regarded as
having such an impairment 28 CFR § 36.104(1)(iii).

32. Plaintiff is a qualified individual with disabilities for purposes of the ADA. 42 USC
12131(2).

33. Defendants are public entities for purposes of the ADA. 42 USC 12131(1).

~ 34. Defendants, acting in concert, have denied Plaintiff the benefits of Defendants’ services,
programs, and activities? solely by reason of Pl-aintiff`s disabilities-, in violation of 42 USC
12132, 121 82 and, by refusing to provide the financial aid which Plaintiff is qualified, have
violated the ADA.

35. Defendants have caused, and continue to cause, Plaintiff to suffer irreparable harm for
which he has no adequate remedy at law, including, without limitation, the deprivation of
her rights as an individual with disabilities

36. As a direct and proximate result of Defendants’ discrimination on the basis of disability,
Plaintiff has suffered substantial damages for embarrassment, mental anguish,: loss of
enjoyment of life, and other nonpecuniary losses.

WHERi-:Foae Plaintiff, LiNDA B'ELL-KAC¢HELsi<i, hereby requests that this Honorable Court
enter judgment against Defendants, MiCHIGAN PRoTEc'rloN & ADvocAcY, INC. AND MICHIGAN

REHABlLlTATlON SERVICES, jointly and severally, as follows:

a. Compensatory damages in whatever amount over $25,000.00 Plaintiff is found to

be entitled;

b. Exemplary damages in whatever amount over $25,000.00 Plaintiff is found to be

entitled; and

 

 

 

 

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c. An award of interest, costs, and reasonable.attorney fees.

 

37. Plaintifi` incorporates and realleges all above paragraphs as.if set forth in i"ull=here.

38. Plaintifi` is a person with a disability as that tennis defined in the Persons with Disabi_lities
Civil Rights Act and codified in MCL 37.1301.

39. That Defendants are a public service as defined by MCL 37.1301.

40. That Plaintifi"s disability is unrelated to the Plaintiff's ability to enjoy the benefits of the
public services offered by Defendants.

4I.That Defendants’ purpose in offering the public service is specifically to aid and protect
persons with disabilities

42. Plaintif`f is qualified for the public services offered by Defendants, and her disability is
unrelated to her ability to use and benefit from the Programs offered by_»_Deferrdant. _

43. That Defendants have intentionally conunitted one or more of the acts prohibited by MCL
37.1302, including, but not limited to the denial of the enjoyment of public services and
denial of the full and equal enjoyment of the public services because of Plaintiff's
disability. l

44. Defendants have denied Plaintiff equal opportunity.

45. As a direct and proximate result of Defendants’ unlawful discrimination, Plaintif`f has been
damaged in anamount exceeding $25,000.

46. Plaintiff will be irreparably harmed if she is not granted injunctive relief along with

monetary damages.

 

 

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WHERr~:FoRE Plaintiff, L1NDA BELL-KACHELSKl, hereby requests that this _Honorable Court

enter judgment against Defendants, MICHIGAN PRO'I'ECTlON & ADVOCACY, INC. AND MlCH!GAN

R£HABrL.i'rArioN Sr-:ercss, jointly and severally, as follows:

a. lssue a preliminary injunction requiring Defendants to grant Plaintiff admission
into Defendants’ programs;

b. Grant Plaintiff damages in an amount in excess of $25,000.00

c. An award of interest, costs, and reasonable attorney fees as permitted under the

Persons with Disabilities Civil Rights Act.

Coggl Ill ~ VroLA'rroN oF TgE` ELLroTT LARS§N Clvrn churs Acr Aoggs'r DM~NI)ANT,

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M
Plaintiff incorporates and realleges all above paragraphs as if set for in full herein.
Plaintiff is an African-American female and sought public services from Defendants.
At all times relevant Defendant provided services to the public, and specifically,- low-
income individuals and individuals with disabilities
On or about March of 2014, Plaintiff sought services from Defendant, MRS, and came to
Defendant‘s place of business for a scheduled meeting with a counselor.
At all times relevant Plaintiff conducted herself in an appropriately courteous manner so
as not to disrupt Defendant’s business. b
While at Defendant, MRS’s, place of business Defendant,,_was subject to comments by
representatives of Defendant which are racially insensitive. " Specifically, Plaintiff heard a
representative of Defendant state, “the nigger is here at 5 [minutes] to 5, trying to make
trouble."

Thereaf`ter, Defendant denied Plaintiff the public services of Defendant’s business.

 

 

 

 

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52. That the denial of service by Defendant, MRS, were based upon race.

53. Defendant, MRS, owed Plaintiii` duties under the ELCRA, MCL 37.2101, et. seq.`

54. Those duties included not to engage in_ discrimination against Plaintiff on the basis of age,
sex or race.

55. Defendant violated those duties in the above manner.

56. As a proximate result, Plaintiff suffered humiliation, embarrassment, and mental and
emotional distress.

57. As a further proximate result, Plaintiff lost the value and benefit of Defendant's public
service and accommodation

58. Defendant’s violations of ELCRA caused Plaintiff substantial damages -

WHeREFoal-: Plaintiff, LiNDA BELL--KAcl-iel.si<i, hereby requests that this I-Ionorable Coun

enter judgment against Defendant, MicHioAN ReHABiLiTATioN Sr~:avices, as follows:

a. Compensatory damages in whatever amount over $.25,000-.00 PlaintiH` is found to
be entitled;

b. Exemplary damages in whatever amount over $25,000.00 Plaintiff is found to be
entitled; and

c. An award of interest, costs, and reasonable attorney fees.

 

59. Plaintiff incorporates and realleges-all above paragraphs as if set'forth in full berein.

60. Defendant law firm breached the duties stated above, among others, in the following ways:

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61.

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63.
64.

65.

66.

a. Defendant arbitrarily closed Plaintiff’s file and would no longer assist Plaintiff,
including holding Defendant, MRS, to the original agreement (Exhibit “A").

b. Defendant MPAS inconsistently stated Flaintiff’s factual basis which formed the
basis for her financial aid eligibility and prior agreements already in place with
Defendant, MRS,

c. Defendant continues to delay and refuses to abide by the verbal and written
agreements as outlined, and continues to withhold,_ without explanation,v services

for which'Plaintiff is eligible and qualified to.receive.

Defendant failed in other ways to comply with the stande of practice and care, the canons
of ethics, the Michigan Code of Professio'nal Responsibility, the Michigan Rules of
Professional Conduct, and ethical considerations applicable to attorneys in the State of
Michigan.
Defendant failed to protect the legal rights of Plaintiff.
Defendant failed to fully advise Plaintiff of her legal n'ghts.
Defendant failed to adequately supervise the attorneys in its office to insure that Plai'ntifi’s
rights were protected.
But for the acts and omissions of Defendant law firm, Plaintiff would not have suffered,
among other injuries, the injuries and damages stated below.
As a direct and proximate result of the acts and omissions of Defendant attomeyi Plaintiff
has suffered, among other injuries, the following:

a. Plaintiff’s receipt of financial aid in order to revtake her Michigan BEI exam to

become a sign language interpreter;

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b. Plaintiff’s receipt of financial aid=and necessary tutors-to take English and math
courses at University of Michigan Flint which Plainti&` was forced to take four (¢i»)
times each;

c. Plai'ntiti‘s receipt of financial aid and necessary tutors for full time enrollment at
University of Michigan Flint to complete and receive her Bachelor’s degree;

d. Plaintiff's loss of the use of the money that should have been paid to her;

e. Plaintiff has been forced to pay fees to other..attorneys in an attempt to remedy and
mitigate the damages caused by.:the acts and omissions of Defendants 7

f. Plaintin has suffered stress, financial hardships, emotional pain and sugering,
mental anguish, and the loss of consortium

g. Plaintiff has suffered other compensable injuries and damages

WHEREFORE Plaintiff, .LiNDA B_ELL-KAcHt-:Lsi<i, hereby requests that this Honorable Court

enter judgment against Defendant, MicHioAN ReHABiuTA'noN Saavicr-:s, as follows:

a. Compensatory damages in whatever amount over $25,000.0i) Plaintifi` is found to
be entitled; n

b. Exemplary damages in whatever amount over $25,000.00 Plaintiff is found to be
entitled; and

c. An award of interest,\ costs, and reasonable attorney fees.

CouNT V - givn. CgNsPiMcv Acémsfr D§FEN!)MTS

67. Plaintiff incorporates and realleges all above paragraphs as if set forth in full herein.

68. Defendants illegally, maliciously, and wrongfully conspired with one another with the

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intent of and for the illegal purpose of preventing funds which Plaintiff was qualified from
being dispersed to Plaintiff, with no intent of providing the required and agreed upon
distributions to Plaintiff. `

69. Defendants, in combination, conspired to conceal funds from Plaintiff under the pretense
of continuing the ongoing, legitimate, business operations of Defendants, MICHIGAN
PRo'rEc'rloN & ADvoCAcY Saavlc'a, INC., AND MICHlGAN REHABILlTA'rtoN SEvacEs.

70. This conspiracy resulted in the illegal, unlawful, or tortious activities of malpractice,
violation of the AInerican’s With Disabilities Act, Persons with Disabilitie's Civil Rights
Act, and The Elliott Larsen Civil Rights Act,

71. As a result.of the conspiracy and Defendants’ illegal, wrongful, or tortious acts, Plaintiff
sustained damages in an amount greater than $25,000.00.

72. Defendants arejointly and severally liable to Plaintiff for all of her injuries and_damages.

WHEasFan Plaintiff, LINDA BELL-KAcHaLsici, hereby requests that this Honorable Court
enter judgment against Defendants, MchIGAN PRoTEc»'rioN & ADvocAcv, INC. AND.MlCHIGAN
REHAB\L!TATloN SaRvich, jointly and severally, in an amount in excess of $25,000.00, and

further grant any other relief deemed necessary and just.

   

 

Respectfully submitted,_
THE RUBINSTEIN LAW FIRM
By: /Z,-»- /‘d K/
Dated: Septembgr~Zo, 201§ Ryat{'P. Richardville (P77335)_

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QURY QEMMQ

Please 'I`ake Notice that Plaintiff, LlNDA BELL-KACHELSI<!, hereby makes a demand for a j

jury trial pursuant to MCR Z.SOB(B)`.

 

Respectfully submitted,
TH_E THRUBINSTEIN LAw FmM M
, By / //€//
Dated: S.ept@be; 2§, 201§. ' _ Ry_pé?~ P. Richardville (P77335)

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"PROTEGTING THE RJQHTS OF
PBRSONS WITH DISABILITIES"

Elmer L. Cerano,Execut't'.ve Di'rector

ROTEGTION &=ADVOGACY

SERVIGE, ING.
Aprn 3, 2014
Linda Kachclski

tchelle Huerta, Esq,
resident
tvonla

sta Pe_w Wolters
rt-V!ea Presldent
rand Raplds

tomas H. Landry
ad ch Presldent
lgl\land

tmala Bellamy, Ph.D.
mary
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tim McCu.l|ocl\

treasurer

zyal Oak

ark R. Laotte, Esq.
mediate Past Presidont
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mold D. Busl\, l.l, JD
'est Bloomlield

anna DePalma, LMSW
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on Polman, LPC
. Jo

ne Shank, MSW
tarlochen

ala A. Sharp. LMSW
etrolt

'ederlck E (Rick) Swegles, Bsq.

)rt. Huron

-ank 'lurnnge, MLM, MSA
)scomrnon

1499 Aucumn Dr.
Flint, MI `48532 -

Dear Ms. Kachelski:

Thanlc you for contacting the Client Assistarice Program (CAP) at Michigan
Protection & Advo_cacy Service, lnc. (MPAS). You contacted our agency to assist
you with investi 'ating your barrier to obtaining financial support'services through
Michigan Rehab 'tau`on Services (MRS) to attend college and working toward .
achieving your employment goal. '

I assisted you in your efforts through provision of the following services:

.' Consulted with MRS staff to investigate your reported service barrier and
informed you of the outcome of the investigation _ ,

¢ Reviewed MRS Policy and consulted with MRS Policy Manger to address
reported required time frames for college course work completion and
provision of Tria.l Semester of college. '

o Researched requirements to attain State of Michigan BEI Interpreters
License and RID National Interpreters Certification. Discussed outcome of
research with you and with your MRS Counselor.

¢ Educated you on MRS College Training Policy and services available
through this policy.

v lnformed` you of your right per MRS Policy and the Rehabilitation Act to
request a new MRS Counselor and educated you on the process to do so.

6 Met with you, CAP Manager, your MRS Counselor and the MRS Site
Manager to discuss your college service request.

fift;.» ‘f" ‘5,:'

regs engineering ,wnn MRS scafr,tMRs n“ agreed te“tnerollnnmg'§'

_.-1,-/~-

 
 

0 'MRS will pay for the fee for you to re~take your Michigan BEI exam
v MRS will pay for you to take English 112 lat-U of M Flint as an assessment

MI.\.n Omce: n M\rqu_att_e Omce:

4095 Legat:y Ptl.r_kwiy, Sulte 500 ~ Lansing, MI 48911-4254 129 W. Bmg& Ave., Suli.o A' Mllquette, MI 49855-4644
517.487.1755 (Volce chl'Y) 906. 228. 5910

800.288.5923 (lnl‘om\ldon and Relemd) 886.928.5910-('1!>|.| Pr\te)

517.487.0827 (ld.~¢) 906.228.9148 (l'\x)

MPAS Web site: www.mpas.org

 

 

 

 

 

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of your ability to proceed with college course work
c If you pass English 112 MRS will develop an lPE with the goal of lnterpreter and
continue to pay for your full time enrollment at U of M Flint to complete her Bachelors

degree

 

Since your service request barrier has now been resolved, lam closing your casewith»our agency.
Once your case is closed, you have the right to look at information in your file that you sent to us,
information you could get through a third person, or any external letters or communications
MPAS created on your behalf, by contacting MPAS’ Legal Dir_ector m the Lansing oftice.

MPAS will keep these materials along with their notes and any other materials m your closed
case file for five years and then destroy them.

I would appreciate it_`if .you would.fill. out the enclosed.survey and return it to me.. .Your
comments help us provide quality service to our consumers If you are not happy with the
services we provided, you may request a grievance form by calling us. Please contact us at
1- 800- 288- 5923, if at any time you have questions or concerns about your rights as a client
of MRS.

Sincerely,

Lisa Knapp, Advocate
LK/lmm

Enclosure

 

 

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' - ' RlCK SNYDER' ' DEPARTM'ENT OF HUMAN SERVICES `MAURA,D.~`C'O`RR|GAN
~ °°"E""°“ MlCHlGAN.=‘REHABJLl;TATloN seal/lees v umwa v
Apzil 18, 2014
Linda A. B.ell-Kachelski
1499 Autu_mn Dr.
Flint, MI 48532
NOTICE.OF TRANSFE_R TO NEW COUNSELOR_
Dear Bell:

As of 1 04/14/2014 your case has been'.reassigned to Vanessa‘.Néillcy, Who can be reth€d. 81
81-0.760.9626. ' '

Please contact your new counselor if you have any questions or concerns regardingl;`.th`ijs` change.

Sincerely,

 

71 1 Norlh Saglnaw
SUM 124
Fllnlj Ml 48503
www.mlchlgan.gov (810) 760-2103

 

 

